                              Case 25-10018-CTG                       Doc 1           Filed 01/09/25         Page 1 of 48

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                            District of Delaware
                                       (State)
 Case number (If known):                                    Chapter 11
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                          GrooMore, Inc.


 2.   All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names, and doing
      business as names




 3.   Debtor’s federal Employer                  6 1 - 1 9 8             1 9 9 0
      Identification Number (EIN)



 4.   Debtor’s address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                          of business

                                            1445 Woodmont Ln. NW
                                            Number         Street                                         Number           Street

                                            Suite # 668
                                                                                                          P.O. Box

                                            Atlanta                           GA         30318
                                            City                              State      ZIP Code         City                         State       ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                            Fulton County
                                            County
                                                                                                          Number      Street




                                                                                                          City                         State       ZIP Code




 5.   Debtor’ s website (URL)                https://groomore.com/




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
                               Case 25-10018-CTG                Doc 1       Filed 01/09/25               Page 2 of 48

Debtor        GrooMore, Inc.                                                                Case number (if known)
              Name


                                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                          Other. Specify:


                                       A. Check one:
 7.   Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          Railroad (as defined in 11 U.S.C. § 101(44))

                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                       B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5    1     3    2

 8.   Under which chapter of the       Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?                       Chapter 9

                                           Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                           Chapter 12

 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?             Yes. District                               When                          Case number
      If more than 2 cases, attach a                                                          MM / DD / YYYY
      separate list.                             District                              When                          Case number
                                                                                              MM / DD / YYYY

 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                Case 25-10018-CTG               Doc 1        Filed 01/09/25            Page 3 of 48

Debtor     GrooMore, Inc.                                                                  Case number (if known)
              Name


 10. Are any bankruptcy cases              No
     pending or being filed by a
     business partner or an                Yes. Debtor                                                              Relationship
     affiliate of the debtor?                    District                                                           When
     List all cases. If more than 1,                                                                                               MM / DD / YYYY
     attach a separate list.                     Case number, if known



 11. Why is the case filed in this     Check all that apply:
     district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.


                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have           No
     possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                     Other



                                                Where is the property?
                                                                             Number        Street




                                                                             City                             State                ZIP Code



                                                Is the property insured?
                                                     No
                                                     Yes. Insurance agency


                                                            Contact name

                                                            Phone



             Statistical and administrative information


 13. Debtor’s estimation of            Check one:
     available funds
                                           Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                           1-49                                1,000-5,000                                   25,001-50,000
 14. Estimated number of
     creditors                             50-99                               5,001-10,000                                  50,001-100,000
                                           100-199                             10,001-25,000                                 More than 100,000
                                           200-999

 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3
                             Case 25-10018-CTG                    Doc 1         Filed 01/09/25             Page 4 of 48

Debtor    GrooMore, Inc.                                                                       Case number (if known)
            Name


                                             $0-$50,000                          $1,000,001-$10 million                        $500,000,001-$1 billion
 15. Estimated assets
                                             $50,001-$100,000                    $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                             $100,001-$500,000                   $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                     More than $50 billion


                                             $0-$50,000                          $1,000,001-$10 million                        $500,000,001-$1 billion
 16. Estimated liabilities
                                             $50,001-$100,000                    $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                             $100,001-$500,000                   $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                     More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of            petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on     01/09/2025
                                                            MM / DD / YYYY

                                         X /s/ ChunLiang Lin                                               ChunLiang Lin
                                            Signature of authorized representative of debtor              Printed name


                                            Title Founder and CEO




 18. Signature of attorney               X /s/ Joseph C. Barsalona II                                     Date          01/09/2025
                                             Signature of attorney for debtor                                           MM / DD / YYYY



                                             Joseph C. Barsalona II
                                             Printed name
                                             Pashman Stein Walder Hayden, P.C.
                                             Firm name
                                             824 Market Street, Suite 800
                                             Number                 Street
                                             Wilmington                                                        DE              19801
                                             City                                                              State           ZIP Code

                                             302-592-6496                                                      jbarsalona@pashmanstein.com
                                             Contact phone                                                     Email address



                                             6102                                                              DE
                                             Bar number                                                        State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4
               Case 25-10018-CTG          Doc 1       Filed 01/09/25   Page 5 of 48




                      UNANIMOUS WRITTEN CONSENT OF THE
                     BOARD OF DIRECTORS OF GROOMORE, INC.

       The undersigned, being the full board of directors       Board        GrooMore Inc., a
Delaware corporation         Company , acting by written consent without a meeting pursuant to
Section 3.10 of the Bylaws of GrooMore, Inc.        Bylaws , agree, pursuant to the Delaware
General Corporation Law, as amended, and the Bylaws, that it consents to and hereby adopts and
approves, the following resolutions:

       WHEREAS, the Board has reviewed and considered, among other things, the financial
condition of the Company on the date hereof; and

      WHEREAS, the Board has received, reviewed, and considered the recommendations of
the Compan      legal and other advisors as to the relative risks and benefits of pursuing a
bankruptcy case under the provisions of subchapter V of chapter 11 of title 11 of the United States
          Bankruptcy Code

       NOW, THEREFORE, BE IT RESOLVED, that, with respect to the Company, the Board
has determined that it is desirable and in the best interests of the Company, its creditors, its
stockholders and other interested parties that a voluntary petition (the Petition           the
Company under the provisions of subchapter V of chapter 11 of the Bankruptcy Code in the United
                                                            Bankruptcy Court

        FURTHER RESOLVED, that the Chief Executive Officer of the Company, ChunLiang
Lin, and any duly appointed officer of the Company                 Authorized Person
acting individually or jointly, be, and each hereby is, authorized, empowered, and directed, with
full power of delegation, to negotiate, execute, verify, deliver, and file with the Bankruptcy Court,
in the name and on behalf of the Company, and under its corporate seal or otherwise, all petitions,
schedules, statements, motions, lists, applications, pleadings, papers, affidavits, declarations,
                                                           Chapter 11 Filings
therein and additions thereto as any such Authorized Person may deem necessary, appropriate or
advisable, the execution and delivery of any of the Chapter 11 Filings by any such Authorized
Person with any changes thereto to be conclusive evidence that any such Authorized Person
deemed such changes to meet such standard); and be it

        FURTHER RESOLVED, that any Authorized Person, in each case, acting individually
or jointly, be, and each hereby is, authorized, empowered, and directed, with full power of
delegation, in the name and on behalf of the Company, to take and perform any and all further acts
and deeds that such Authorized Person deems necessary, appropriate, or desirable in connection
with the                              (the Chapter 11 Case
without limitation, (i) the payment of fees, expenses and taxes such Authorized Person deems
necessary, appropriate, or desirable, and (ii) negotiating, executing, delivering, performing and
filing any and all additional documents, schedules, statements, lists, papers, agreements,
certificates and/or instruments (or any amendments or modifications thereto) in connection with,
or in furtherance of, the Chapter 11 Case with a view to the successful prosecution of the Chapter


                                                  1
              Case 25-10018-CTG         Doc 1       Filed 01/09/25   Page 6 of 48




11 Case (such acts to be conclusive evidence that such Authorized Person deemed the same to
meet such standard); and be it

        FURTHER RESOLVED, that the retention of the law firm of Pashman Stein Walder
Hayden, P.C. Pashman Stein                                   y as bankruptcy counsel on the terms
set forth in its engagement letter with the Company and to represent and assist the Company in
preparing and filing the Petition, the Chapter 11 Filings, and related forms, schedules, lists,
statements and other papers or documents is hereby approved, adopted, ratified and confirmed in
all respects; and in connection therewith, any Authorized Person, and each of them, acting either
individually or jointly, are hereby authorized, empowered, and directed, in the name and on behalf
of the Company, to execute appropriate retention agreements, pay appropriate retainers prior to
and immediately upon the filing of the Chapter 11 Case, and cause to be filed an appropriate
application for authority to retain the services of Pashman Stein; and be it

       FURTHER RESOLVED, that the Authorized Persons or any one of them be, and each
hereby is, authorized and empowered to engage such further accountants, counsel, consultants or
advisors and to do such other acts and things as may be determined to be necessary or appropriate
by the Authorized Person or Authorized Persons so acting in order to fully effectuate the purpose
and intent of the foregoing resolutions and to accomplish the transactions contemplated thereby,
such determination to be conclusively evidenced by the retention or taking of any such action by
such Authorized Person; and be it

       FURTHER RESOLVED, that all of the acts and transactions relating to matters
contemplated by the foregoing resolutions, which acts and transactions would have been
authorized and approved by the foregoing resolutions except that such acts and transactions were
taken prior to the adoption of such resolutions, be, and they hereby are, in all respects adopted,
confirmed, approved, and ratified.


                          [Remainder of Page Intentionally Left Blank]




                                                2
             Case 25-10018-CTG      Doc 1   Filed 01/09/25   Page 7 of 48




        IN WITNESS WHEREOF, the undersigned Board members have executed this consent on
the date set forth below.


/s/
ChunLiang Lin
Date:
                   Case 25-10018-CTG              Doc 1      Filed 01/09/25         Page 8 of 48




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                       Chapter 11

    GrooMore, Inc.                                              Case No. 25-_____ (__)

                             Debtor. 1                          (Subchapter V)


        CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY HOLDERS

            Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following are equity holders, other than governmental units, that directly or

indirectly own 10% of more of any class of the Debtors equity interests:

     Name and last known address or place of
                                                                        Percentage of Ownership
                 business of holder
    ChunLiang Lin
    Building 2, D403,
    Nan Guo Li Cheng,
                                                                                     100%
    Nan Shan District, Shenzhen,
    Guangdong,
    China




1
      The last four digits of the Debtor’s federal tax identification number are 1990. The Debtor’s mailing address is
      1445 Woodmont Ln NW, Suite 668, Atlanta, GA 30318.
                                     Case 25-10018-CTG                   Doc 1         Filed 01/09/25             Page 9 of 48


       Fill in this information to identify the case:

       Debtor name   GrooMore, Inc.
       United States Bankruptcy Court for the:                               District of Delaware
                                                                                     (State)
                                                                                                                                                    Check if this is an
       Case number (If known):                                                                                                                      amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
    Claims and Are Not Insiders                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and       Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor         (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                           debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                                   professional          unliquidated, total claim amount and deduction for value of
                                                                                   services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if    Deduction for      Unsecured
                                                                                                                         partially          value of           claim
                                                                                                                         secured            collateral or
                                                                                                                                            setoff
     Zhao Ji Wen
     Mao Hua Xi Du Hui,
                                          Attn: Zhao Ji Wen
1    No. 910, Xinyu Road, Yuhua District,                                           Trade Debt                                                                 $316,200.00
                                          Email: 570838347@qq.com
     Changsha, Hunan Province,
     China
     J.S. Held LLC – US
                                                 Attn: Shelly Irvine
     50 Jericho Quadrangle                                                          Professional
2                                                Tel: 516-621-2900                                                                                             $120,277.34
     Ste 117                                                                        Services
                                                 Email: billing@jsheld.com
     Jericho, NY 11753

     Lesowitz Gebelin LLP
     8383 Wilshire Blvd,                         Attn: Steven Gebelin               Professional
3                                                                                                                                                               $67,908.75
     Suite 800                                   Email: steven@lawbylg.com          Services
     Beverly Hills, California 90211

   Stripe
4d 199 Water St,                                 Email: notifications@stripe.com    Bank Loan                                                                   $55,097.00
   New York, NY 10038

     Structure Law Group
                                                 Attn: Robin Ratner
     1754 Technology Drive,                                                     Professional
5                                                Tel: 408-441-7500                                                                                              $40,933.15
     Suite 135                                                                  Services
                                                 Emai: rratner@structurelaw.com
     San Jose, California 95110

     Twilio
6    101 Spear Street, Fifth Floor,              Email: ecalinisan@twilio.com       Trade Debt                                                                  $25,346.68
     San Francisco, CA 94105


     Moement, Inc.
7    22110 Artesia Blvd., Ste. 177,              Email: support@moego.pet           Pending litigation   CUD                                                   Undetermined
     Redondo Beach, CA 90278



8



    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
                                 Case 25-10018-CTG               Doc 1       Filed 01/09/25             Page 10 of 48


     Debtor       GrooMore, Inc.                                                            Case number (if known)
                  Name



      Name of creditor and complete         Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
      mailing address, including zip code   email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated, total claim amount and deduction for value of
                                                                          services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for      Unsecured
                                                                                                                partially          value of           claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff



9




10




11




12




13




14




15




16




17




18




19




20




     Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 2
                                  Case 25-10018-CTG                 Doc 1           Filed 01/09/25              Page 11 of 48

 Fill in this information to identify the case and this filing:


 Debtor Name     GrooMore, Inc.
 United States Bankruptcy Court for the:                             District of Delaware
                                                                                 State)

  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration          Corporate Ownership Statement




         I declare under penalty of perjury that the foregoing is true and correct.


        Executed on         01/09/2025                        /s/ ChunLiang Lin
                            MM / DD / YYYY                        Signature of individual signing on behalf of debtor




                                                                  ChunLiang Lin
                                                                  Printed name


                                                                  Founder and CEO
                                                                  Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 12 of 48




              FOR TAX YEAR 2023
                    GROOMORE INC




               Andreea Wildner CPA

                2060 Golf View Dr

                DUNEDIN, FL 34698

                    (727)992-0489
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 13 of 48
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 14 of 48
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 15 of 48
                                 Case 25-10018-CTG                Doc 1        Filed 01/09/25           Page 16 of 48

                                   Acknowledgement and General Information for
                                      Entities That File Returns Electronically
                                                                                                                          2023
    Name(s) as shown on return                                                                                            Tax ID Number

    GROOMORE INC                                                                                                          **-***1990




   Entity address


        1445 WOODMONT LN NW

        ATLANTA, GA 30318

   Thank you for participating in IRS e-file.




                                                                                                   y
   1. X     2023      7004                   income tax return for Federal                                  was filed electronically.
            The electronic filing services were provided by Andreea Wildner CPA                                                           .




                                                                                                po
   2.                                 income tax return was accepted on                                  using a Personal Identification Number (PIN) as
            an electronic signature. The entity entered a PIN or authorized the Electronic Return Originator (ERO) to enter or generate a PIN signature.
            The submission ID assigned to this return is                                                                             .




                                                                      C
              PLEASE DO NOT SEND A PAPER COPY OF ENTITY'S RETURN TO THE




                                                                   tn
              IRS. IF YOU DO, IT WILL DELAY THE PROCESSING OF THE RETURN.




                                        lC i e
EF_ACK.LD
                                                                                                  Case 25-10018-CTG    Doc 1 Income
                                                                                                                              Filed 01/09/25  Page 17 of 48
Form                                                               1120                                      U.S. Corporation         Tax Return
                                                                                                  For calendar year 2023 or tax year beginning                             , 2023, ending                              , 20
                                                                                                                                                                                                                                            OMB No. 1545-0123

Department of the Treasury
Internal Revenue Service                                                                                        Go to www.irs.gov/Form1120 for instructions and the latest information.
                                                                                                                                                                                                                                                 2023
A Check if:                                                                                             Name                                                                                                              B Employer identification number
1a Consolidated return
                                              (attach Form 851)                 ..                        GROOMORE INC                                                                                                           XX-XXXXXXX
 b Life/nonlife consoli-                                                                                                                                                                                                  C Date incorporated
                                              dated return                ...                  TYPE Number, street, and room or suite no. If a P.O. box, see instructions.
                                                                                                                                                                         STE 668
2                                             Personal holding co.                             OR
                                              (attach Sch. PH)                  .                                                                                                                                                10-21-2020
                                                                                               PRINT
3                                             Personal service corp.                                      1445 WOODMONT LN NW                                                                                             D Total assets (see instructions)
                                              (see instructions)                .                       City or town, state or province, country and ZIP or foreign postal code
4                                             Schedule M-3 attached
                                                                                                          ATLANTA                                                          GA           30318                                             $               24,259
                                                                                       E Check if: (1)      Initial return      (2)   Final return       (3)    Name change        (4)   Address change

                                                                    1a Gross receipts or sales. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          1a           335,107
                                                                     b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            1b
                                                                     c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       1c                                                          335,107
                                                                    2   Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          2                                                          240,747
                                                                    3   Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     3                                                           94,360
    Income




                                                                    4   Dividends and inclusions (Schedule C, line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        4
                                                                    5   Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5




                                                                                                                                                                                            y
                                                                    6   Gross rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          6
                                                                    7   Gross royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          7




                                                                                                                                                                                         po
                                                                    8   Capital gain net income (attach Schedule D (Form 1120)) . . . . . . . . . . . . . . . . . . . . . . . . . .          8
                                                                    9   Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797). . . . . . . . . . . . . . . . . . . . .      9
                                                                   10   Other income (see instructions - attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        10
                                                                   11   Total income. Add lines 3 through 10        ....................................                                    11                                                            94,360
                                                                   12   Compensation of officers (see instructions - attach Form 1125-E) . . . . . . . . . . . . . . . . . . . . . .        12
                                                                   13   Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          13
    Deductions (See instructions for limitations on deductions.)




                                                                                                                                                     C
                                                                   14   Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           14
                                                                   15   Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           15




                                                                                                                                                  tn
                                                                   16   Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           16
                                                                   17   Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       . . Tax/Lic
                                                                                                                                                                   Wks       ......         17                                                                  709
                                                                   18   Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       18
                                                                   19   Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        19
                                                                   20   Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . . .          20




                                                                                                                   e
                                                                   21   Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         21




                                                                                                              lC i
                                                                   22   Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         22
                                                                   23   Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      23
                                                                   24   Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           24
                                                                   25   Energy efficient commercial buildings deduction (attach Form 7205)         ....................                     25
                                                                   26   Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . .      . . . . . . .#5
                                                                                                                                                                   Statement       ...      26                                                            81,770
                                                                   27   Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           27                                                            82,479
                                                                   28   Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11. . . .     28                                                            11,881
                                                                   29a Net operating loss deduction (see instructions) . . . . . . . . . . . . . . . . . .        29a
                                                                      b Special deductions (Schedule C, line 24) . . . . . . . . . . . . . . . . . . . . .        29b
                                                                      c Add lines 29a and 29b . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        29c
                                                                   30   Taxable income. Subtract line 29c from line 28. See instructions     .......................                        30                                                            11,881
    Tax, Refundable Credits, &




                                                                   31   Total tax (Schedule J, Part I, line 11) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     31                                                             2,495
                                                                   32   Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         32
            Payments




                                                                   33   Total payments and credits (Schedule J, Part III, line 23) . . . . . . . . . . . . . . . . . . . . . . . . . .      33
                                                                   34   Estimated tax penalty. See instructions. Check if Form 2220 is attached . . . . . . . . . . . . . . . . . . X       34                                                                132
                                                                   35   Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed . . . . . . . . . . .       35                                                              2,627
                                                                   36   Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid . . . . . . . . . .      36
                                                                   37   Enter amount from line 36 you want: Credited to 2024 estimated tax                                  Refunded        37
                                                                      Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct, and
                                                                      complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                          May the IRS discuss this return
Here                                                                    CHUNLIANG LIN                                                                                      PRESIDENT                                          with the preparer shown below?
                                                                        Signature of officer                                             Date                             Title                                               See instructions.     X Yes        No

                                                                            Print/Type preparer's name                             Preparer's signature                                   Date                       Check           if   PTIN

Paid                                                                        ANDREEA WILDNER                ANDREEA WILDNER                                                                                           self-employed   XXXXX9057
Preparer                                                                    Firm's name    Andreea Wildner CPA                                                                                               Firm's EIN       XX-XXXXXXX
Use Only                                                                    Firm's address 2060 Golf View Dr                                                                                                 Phone no.

                                                                                           DUNEDIN FL 34698                                                                                                      (727)992-0489
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                                 Form 1120 (2023)
EEA
                              Case 25-10018-CTG                    Doc 1        Filed 01/09/25         Page 18 of 48

Form 1120 (2023)          GROOMORE INC                                                                                     XX-XXXXXXX                    Page 2
 Schedule C             Dividends, Inclusions, and Special Deductions                                  (a) Dividends and
                                                                                                                              (b) %
                                                                                                                                           (c) Special deductions
                        (see instructions)                                                                inclusiions                             (a) x (b)

 1    Dividends from less-than-20%-owned domestic corporations (other than debt-financed
      stock) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    50
 2    Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
      stock) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    65
                                                                                                                                See
                                                                                                                            instructions
 3    Dividends on certain debt-financed stock of domestic and foreign corporations    ......

 4    Dividends on certain preferred stock of less-than-20%-owned public utilities. . . . . . . .                               23.3


 5    Dividends on certain preferred stock of 20%-or-more-owned public utilities . . . . . . . .                                26.7


 6    Dividends from less-than-20%-owned foreign corporations and certain FSCs . . . . . . .                                    50


 7    Dividends from 20%-or-more-owned foreign corporations and certain FSCs . . . . . . . .                                    65




                                                                                                     y
  8   Dividends from wholly owned foreign subsidiaries . . . . . . . . . . . . . . . . . . . .                                100




                                                                                                  po
                                                                                                                                See
                                                                                                                            instructions
 9                                                                   ..............
      Subtotal. Add lines 1 through 8. See instructions for limitations
10    Dividends from domestic corporations received by a small business investment
      company operating under the Small Business Investment Act of 1958. . . . . . . . . . .                                  100


11    Dividends from affiliated group members    ........................                                                     100




                                                                       C
12    Dividends from certain FSCs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 100




                                                                    tn
13    Foreign-source portion of dividends received from a specified 10%-owned foreign
      corporation (excluding hybrid dividends) (see instructions) . . . . . . . . . . . . . . . .                             100
14    Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
      (including any hybrid dividends) . . . . . . . . . . . . . . . . . . . . . . . . . . . .




                                             e
15   Reserved for future use       ...............................




                                        lC i
16a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
     the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
     (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 100
   b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
     5471) (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   c Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17 (attach
     Form(s) 5471) (see instructions)      ...........................

17                                                                                .....
      Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992)


18    Gross-up for foreign taxes deemed paid . . . . . . . . . . . . . . . . . . . . . . . . .


19    IC-DISC and former DISC dividends not included on line 1, 2, or 3 . . . . . . . . . . . .


20    Other dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


21    Deduction for dividends paid on certain preferred stock of public utilities. . . . . . . . . .


22    Section 250 deduction (attach Form 8993) . . . . . . . . . . . . . . . . . . . . . . .
23    Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
      page 1, line 4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
24                                                                                                 .............
      Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b
EEA                                                                                                                                        Form 1120 (2023)
                            Case 25-10018-CTG                  Doc 1        Filed 01/09/25           Page 19 of 48
Form 1120 (2023)  GROOMORE INC                                                                                      XX-XXXXXXX               Page 3
 Schedule J         Tax Computation and Payment (see instructions)
Part I - Tax Computation
1     Income tax. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          1            2,495
2     Base erosion minimum tax amount (attach Form 8991) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              2
3     Corporate alternative minimum tax from Form 4626, Part II, line 13 (attach Form 4626) . . . . . . . . . . . . . .         3
4     Add lines 1, 2, and 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         4            2,495
5a    Foreign tax credit (attach Form 1118) . . . . . . . . . . . . . . . . . . . . . . . . .          5a                    0
  b   Credit from Form 8834 (see instructions) . . . . . . . . . . . . . . . . . . . . . . . .         5b
  c   General business credit (see instructions - attach Form 3800)        ............                5c
  d   Credit for prior year minimum tax (attach Form 8827) . . . . . . . . . . . . . . . . . .         5d
  e   Bond credits from Form 8912 . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            5e
6     Total credits. Add lines 5a through 5e. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         6
7     Subtract line 6 from line 4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       7            2,495
8     Personal holding company tax (attach Schedule PH (Form 1120)) . . . . . . . . . . . . . . . . . . . . . . . . .           8                0
9a    Recapture of investment credit (attach Form 4255) . . . . . . . . . . . . . . . . . . .          9a
 b    Recapture of low-income housing credit (attach Form 8611) . . . . . . . . . . . . . . .          9b
 c    Interest due under the look-back method - completed long-term contracts (attach




                                                                                                y
      Form 8697) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             9c
 d    Interest due under the look-back method - income forecast method (attach Form 8866) . .          9d




                                                                                             po
 e    Alternative tax on qualifying shipping activities (attach Form 8902) . . . . . . . . . . . .     9e
 f    Interest/tax due under section 453A(c) . . . . . . . . . . . . . . . . . . . . . . . .           9f
 g    Interest/tax due under section 453(l) . . . . . . . . . . . . . . . . . . . . . . . . .          9g
 z    Other (see instructions - attach statement) . . . . . . . . . . . . . . . . . . . . . . .        9z
10    Total. Add lines 9a through 9z. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        10
11    Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line .  31. . . . . . . . . . . . . . . . . . . . . . . .   11            2,495




                                                                    C
Part II - Payments and Refundable Credits
12    Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         12




                                                                 tn
13    Preceding year’s overpayment credited to the current year     ...........................                               13
14    Current year’s estimated tax payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         14
15    Current year’s refund applied for on Form 4466      ................................                                    15 (                 )
16    Combine lines 13, 14, and 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        16
17    Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        17




                                           e
18    Withholding (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      18




                                      lC i
19    Total payments. Add lines 16, 17, and 18. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         19
20    Refundable credits from:
  a   Form 2439 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       20a
  b   Form 4136 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       20b
  c   Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       20c
  z   Other (attach statement - see instructions) . . . . . . . . . . . . . . . . . . . . . . .   20z
21    Total credits. Add lines 20a through 20z. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       21
22    Elective payment election amount from Form 3800 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         22
23    Total payments and credits. Add lines 19, 21, and 22. Enter here and on page 1, line 33 . . . . . . . . . . . .         23
EEA                                                                                                                                  Form 1120 (2023)
                                   Case 25-10018-CTG                        Doc 1          Filed 01/09/25               Page 20 of 48
Form 1120 (2023)        GROOMORE INC                                                                                                       XX-XXXXXXX                   Page 4
Schedule K           Other Information (see instructions)
  1      Check accounting method: a X Cash b          Accrual           c     Other (specify)                                                                       Yes      No
  2   See the instructions and enter the:
    a Business activity code no.      541511
    b Business activity        SOFTWARE FOR PET GROOMING PROFESSIONALS
    c Product or service       SOFTWARE FOR PET GROOMERS
  3                                                                                                 ....................
      Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group?                                                                        X
      If "Yes," enter name and EIN of the parent corporation


  4   At the end of the tax year:
    a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
      organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
      corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G)                 ............                             X
    b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
      classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G)               .....             X
  5   At the end of the tax year, did the corporation:




                                                                                                                   y
    a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
                                                                                                                                                 ......
         any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions                          X




                                                                                                                po
         If "Yes," complete (i) through (iv) below.
                                                                                                  (ii) Employer                (iii) Country of          (iv) Percentage
                                   (i) Name of Corporation                                    Identification Number              Incorporation            Owned in Voting
                                                                                                       (if any)                                                Stock




                                     (i) Name of Entity




                                                                              tn C
      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership



                                                                                                  (ii) Employer
                                                                                              Identification Number
                                                                                                                                (iii) Country of
                                                                                                                                  Organization
                                                                                                                                                      .......
         (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions
         If "Yes," complete (i) through (iv) below.
                                                                                                                                                           (iv) Maximum
                                                                                                                                                        Percentage Owned in
                                                                                                                                                                             X




                                                     e
                                                                                                       (if any)                                         Profit, Loss, or Capital




  6




  7
                                                lC i
         During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
         excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316. . . . . . . . . . . . . . .
         If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
         If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
         At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
         classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock?. . . . .
         For rules of attribution, see section 318. If "Yes," enter:
         (a) Percentage owned           100                 and (b) Owner's country                 CH
         (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
                                                                                                                                                      X
                                                                                                                                                            X




         Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached                              0
  8      Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . . . . . . .
         If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9      Enter the amount of tax-exempt interest received or accrued during the tax year $
 10      Enter the number of shareholders at the end of the tax year (if 100 or fewer)                    1
 11      If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions). . .
         If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
         or the election will not be valid.
 12      Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on page 1, line 29a) $
EEA                                                                                                                                           Form 1120 (2023)
                              Case 25-10018-CTG                    Doc 1        Filed 01/09/25             Page 21 of 48
Form 1120 (2023)          GROOMORE INC                                                                                      XX-XXXXXXX                 Page 5
 Schedule K               Other Information (continued from page 4)
13     Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the  Yes      No
       tax year less than $250,000? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         X
       If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
       distributions and the book value of property distributions (other than cash) made during the tax year . . $
14     Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions . . . . . . . . .                     X
       If "Yes," complete and attach Schedule UTP.
15a    Did the corporation make any payments that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . .                        X
   b   If "Yes," did or will the corporation file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   X
 16    During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
       own stock? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           X
17     During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
       of its assets in a taxable, non-taxable, or tax deferred transaction?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   X
18     Did this corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
       market value of more than $1 million? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        X
19     During this corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
       under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code?         ...............                            X




                                                                                                      y
20     Is the corporation operating on a cooperative basis? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       X
21     During this tax year, did the corporation pay or accrue any interest or royalty for which the deducton is not allowed under




                                                                                                   po
       section 267A? See instructions        ...............................................                                                                  X
       If "Yes," enter the total amount of the disallowed deductions $
22     Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2) and (3).)               X
       If "Yes," complete and attach Form 8991.
23     Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
       during this tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       X




                                                                        C
24     Does the corporation satisfy one or more of the following? If "Yes," complete and attach Form 8990, See instructions         ......                    X
  a    The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.




                                                                     tn
  b    The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
       current tax year are more than $29 million and the corporation has business interest expense.
  c    The corporation is a tax shelter and the corporation has business interest expense.
25     Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?. . . . . . . . . . . . . . . . . . . . . . . .                      X
       If "Yes," enter amount from Form 8996, line 15 . . . . . . . . . . . . . . . . $                                0




                                        lC i e
26     Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
       indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
       50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If “Yes,” list the ownership
       percentage by vote and by value. See instructions        ......................................                                                       X
       Percentage: By Vote                                                           By Value
27     At any time during this tax year, did the corporation (a) receive a digital asset (as a reward, award, or payment for property or
       services); or (b) sell, exchange, or otherwise dispose of a digital asset (or a financial interest in a digital asset)? See instructions              X
28     Is the corporation a member of a controlled group? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        X
       If “Yes,” attach Schedule O (Form 1120). See instructions.
29     Corporate Alternative Minimum Tax:
  a    Was the corporation an applicable corporation under section 59(k)(1) in any prior tax year? . . . . . . . . . . . . . . . . . . .                     X
       If “Yes,” go to question 29b. If “No,” skip to question 29c.
  b    Is the corporation an applicable corporation under section 59(k)(1) in the current tax year because the corporation was an
       applicable corporation in the prior tax year? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     X
       If “Yes,” complete and attach Form 4626. If “No,” continue to question 29c.
  c    Does the corporation meet the requirements of the safe harbor method as provided under section 59(k)(3)(A) for the current tax
       year? See instructions        ...................................................                                                               X
       If “No,” complete and attach Form 4626. If “Yes,” the corporation is not required to file Form 4626.
30     Is the corporation required to file Form 7208 relating to the excise tax on repurchase of corporate stock (see instructions):
  a    Under the rules for stock repurchased by a covered corporation (or stock acquired by its specified affiliate)?          ..........                    X
  b    Under the applicable foreign corporation rules?        .......................................                                                        X
  c    Under the covered surrogate foreign corporation rules?         ...................................                                                    X
       If “Yes” to either (a), (b), or (c), complete Form 7208, Excise Tax on Repurchase of Corporate Stock. See the Instructions for
       Form 7208.
31     Is this a consolidated return with gross receipts or sales of $1 billion or more and a subchapter K basis adjustment, as described
       in the instructions, of $10 million or more? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    X
       If “Yes,” attach a statement. See instructions.
EEA                                                                                                                                             Form 1120 (2023)
                                    Case 25-10018-CTG                  Doc 1      Filed 01/09/25                Page 22 of 48

Form 1120 (2023)             GROOMORE INC                                                                                           XX-XXXXXXX                   Page 6
Schedule L             Balance Sheets per Books                            Beginning of tax year                                      End of tax year
                          Assets                                         (a)                     (b)                          (c)                        (d)
 1 Cash . . . . . . . . . . . . . . . . . . . . . .                                                     5,939                                                  14,687
 2a Trade notes and accounts receivable . . . . . . .
  b Less allowance for bad debts . . . . . . . . . . .             (                )                                (                        )
 3 Inventories . . . . . . . . . . . . . . . . . . .                                                                                                            9,572
 4 U.S. government obligations . . . . . . . . . . .
 5 Tax-exempt securities (see instructions) . . . . . .
 6 Other current assets (attach statement) . . . . . .             Statement #8                         9,572
 7 Loans to shareholders . . . . . . . . . . . . . .
 8 Mortgage and real estate loans . . . . . . . . . .
 9 Other investments (attach statement) . . . . . . .
10a Buildings and other depreciable assets . . . . . .
  b Less accumulated depreciation . . . . . . . . . .              (                )                                (                        )
11a Depletable assets . . . . . . . . . . . . . . . .
  b Less accumulated depletion . . . . . . . . . . .               (                )                                (                        )




                                                                                                          y
12 Land (net of any amortization) . . . . . . . . . .
13a Intangible assets (amortizable only) . . . . . . . .




                                                                                                       po
  b Less accumulated amortization . . . . . . . . . .              (                )                                (                        )
14 Other assets (attach statement) . . . . . . . . . .
15 Total assets . . . . . . . . . . . . . . . . . . .                                                 15,511                                                   24,259
          Liabilities and Shareholders' Equity
16     Accounts payable      ................
17     Mortgages, notes, bonds payable in less than 1 year . . .




                                                                           C
18     Other current liabilities (attach statement) . . . . .
19     Loans from shareholders . . . . . . . . . . . . .




                                                                        tn
20     Mortgages, notes, bonds payable in 1 year or more. . . .
21     Other liabilities (attach statement) . . . . . . . .
22     Capital stock:     a Preferred stock . . . . . . . .
                          b Common stock . . . . . . . .
23     Additional paid-in capital . . . . . . . . . . . . .                                                593                                                    593




                                                     e
24     Retained earnings-Appropriated (attach statement) . . . .




                                                lC i
25     Retained earnings-Unappropriated         ........                                              14,918                                                   23,666
26     Adjustments to shareholders' equity (attach statement)
27     Less cost of treasury stock . . . . . . . . . . . .                              (                        )                                (                     )
28     Total liabilities and shareholders' equity . . . . . .                         15,511                                                                   24,259
Schedule M-1                   Reconciliation of Income (Loss) per Books With Income per Return
                          Note: The corporation may be required to file Schedule M-3. See instructions.
 1  Net income (loss) per books . . . . . . . . . . .                    8,748      7 Income recorded on books this year
 2  Federal income tax per books . . . . . . . . . . .                                  not included on this return (itemize):
 3  Excess of capital losses over capital gains . . . .                                 Tax-exempt interest $
 4  Income subject to tax not recorded on books
    this year (itemize):
                                                                                    8 Deductions on this return not charged
 5 Expenses recorded on books this year not                                             against book income this year (itemize):
    deducted on this return (itemize):                                               a Depreciation . . . . . $
  a Depreciation. . . . . . . . . . $                                                b Charitable contributions $
  b Charitable contributions . . . . $
  c Travel and entertainment . . . $


      Statement #16                                       3,133
                                                            3,133     9 Add lines 7 and 8 . . . . . . . . . .
 6     Add lines 1 through 5        .............          11,881 10 Income (page 1, line 28)-line 6 less line 9                                               11,881
Schedule M-2           Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
 1 Balance at beginning of year. . . . . . . . . . . .     14,918     5 Distributions:   a Cash . . . . . .
 2 Net income (loss) per books . . . . . . . . . . . .      8,748                        b Stock . . . . . .
 3     Other increases (itemize):                                                                                c Property . . . . .
                                                                                            6   Other decreases (itemize):
                                                                                            7   Add lines 5 and 6 . . . . . . . . . .
 4     Add lines 1, 2, and 3    ...............                           23,666            8   Balance at end of year (line 4 less line 7)                    23,666
EEA                                                                                                                                                   Form 1120 (2023)
                             Case 25-10018-CTG              Doc 1       Filed 01/09/25          Page 23 of 48

Form      1125-A                                         Cost of Goods Sold
(Rev. November 2018)                                                                                                         OMB No. 1545-0123
                                                Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                       Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                               Employer identification number

GROOMORE INC                                                                                                        XX-XXXXXXX
 1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             1
 2     Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                2             232,611
 3     Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              3
 4     Additional section 263A costs (attach schedule)       ...........................                                  4
 5     Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . .         . . . . . .#7
                                                                                                 Statement        ..      5              17,708
 6     Total. Add lines 1 through 5       ....................................                                            6             250,319
 7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             7               9,572
 8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions     .........................                                8             240,747
 9a    Check all methods used for valuing closing inventory:
         (i) X Cost




                                                                                            y
        (ii)    Lower of cost or market
       (iii)    Other (Specify method used and attach explanation.)




                                                                                         po
  b    Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  c    Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)          .............
  d    If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
       under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
  e    If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions  ......   Yes    X No
  f    Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"




                                                                 C
       attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     Yes    X No




                                          e                   tn
                                     lC i
For Paperwork Reduction Act Notice, see instructions                                                                Form 1125-A (Rev. 11-2018)
EEA
                                     Case 25-10018-CTG Doc 1 Filed 01/09/25 Page 24 of 48
SCHEDULE G                                  Information on Certain Persons Owning the
(Form 1120)                                         Corporation's Voting Stock                                                                                             OMB No. 1545-0123
(Rev. December 2011)                                                                 Attach to Form 1120.
Department of the Treasury
Internal Revenue Service                                                               See instructions.
Name                                                                                                                                              Employer identification number (EIN)



      GROOMORE INC                                                                                                                                              XX-XXXXXXX
 Part I          Certain Entities Owning the Corporation's Voting Stock. (Form 1120, Schedule K, Question 4a). Complete
                 columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated
                 as a partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or
                 indirectly, 50% or more of the total voting power of all classes of the corporation's stock entitled to vote (see
                 instructions).
                                                      (ii) Employer Identification
                (i) Name of Entity                                                     (iii) Type of Entity            (iv) Country of Organization       (v) Percentage Owned in Voting Stock
                                                             Number (if any)




                                                                                                                          po y
                                                                                     tn C
                                                      e
 Part II           Certain Individuals and Estates Owning the Corporation's Voting Stock. (Form 1120, Schedule K,




                                                 lC i
                   Question 4b). Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or
                   more, or owns, directly or indirectly, 50% or more of the total voting power of all classes of the corporation's
                   stock entitled to vote (see instructions).
                                                                                                                                             (iii) Country of
                                                                                                               (ii) Identifying Number                                 (iv) Percentage Owned
                                     (i) Name of Individual or Estate                                                                        Citizenship (see
                                                                                                                          (if any)             instructions)                in Voting Stock



CHUNLIANG LIN                                                                                                 XXX-XX-1990                         CH               100




For Paperwork Reduction Act Notice,                                                                                                                        Schedule G (Form 1120) (Rev. 12-2011)
see the Instructions for Form 1120.
EEA
                              Case 25-10018-CTG                     Doc 1         Filed 01/09/25             Page 25 of 48
Form   2220                            Underpayment of Estimated Tax by Corporations                                                           OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                          Attach to the corporation's tax return.
                                         Go to www.irs.gov/Form2220 for instructions and the latest information.
                                                                                                                                                      2023
Name                                                                                                                 Employer identification number

GROOMORE INC                                                                                                                      XX-XXXXXXX
Note: Generally, the corporation is not required to file Form 2220 (see Part II below for exceptions) because the IRS will figure any penalty
owed and bill the corporation. However, the corporation may still use Form 2220 to figure the penalty. If so, enter the amount from page 2,
line 38, on the estimated tax penalty line of the corporation's income tax return, but do not attach Form 2220.
 Part I      Required Annual Payment

   1 Total tax (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 1               2,495
   2a Personal holding company tax (Schedule PH (Form 1120), line 26) included on line 1. . . . 2a
    b Look-back interest included on line 1 under section 460(b)(2) for completed long-term
      contracts or section 167(g) for depreciation under the income forecast method . . . . . . 2b
    c Credit for federal tax paid on fuels (see instructions) . . . . . . . . . . . . . . . . . . . 2c
    d Total. Add lines 2a through 2c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 2d
   3 Subtract line 2d from line 1. If the result is less than $500, do not complete or file this form. The corporation




                                                                                                        y
      does not owe the penalty . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3               2,495
   4 Enter the tax shown on the corporation's 2022 income tax return. See instructions. Caution: If the tax is zero or




                                                                                                     po
      the tax year was for less than 12 months, skip this line and enter the amount from line 3 on line 5 . . . . . . . . . . .           4
   5 Required annual payment. Enter the smaller of line 3 or line 4. If the corporation is required to skip line 4, enter
      the amount from line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  5               2,495
 Part II     Reasons for Filing - Check the boxes below that apply. If any boxes are checked, the corporation must file
             Form 2220 even if it does not owe a penalty. See instructions.
   6         The corporation is using the adjusted seasonal installment method.




                                                                         C
   7         The corporation is using the annualized income installment method.
   8         The corporation is a "large corporation" figuring its first required installment based on the prior year's tax.
 Part III     Figuring the Underpayment




                                                                      tn
                                                                                            (a)              (b)            (c)           (d)
   9  Installment due dates. Enter in columns (a) through (d) the 15th day
      of the 4th (Form 990-PF filers: Use 5th month), 6th, 9th, and 12th
      months of the corporation’s tax year      . . . . . . . . . . . . . . . . . 9 04-18-2023 06-15-2023 09-15-2023 12-15-2023




                                              e
  10 Required installments. If the box on line 6 and/or line 7 above is




                                         lC i
      checked, enter the amounts from Schedule A, line 38. If the box on
      line 8 (but not 6 or 7) is checked, see instructions for the amounts to
      enter. If none of these boxes are checked, enter 25% (0.25) of line 5
      above in each column . . . . . . . . . . . . . . . . . . . . . . . . . 10                 624             624             624           623
  11 Estimated tax paid or credited for each period. For column (a) only,
      enter the amount from line 11 on line 15. See instructions . . . . . . . . 11
      Complete lines 12 through 18 of one column before going to the
      next column.
  12 Enter amount, if any, from line 18 of the preceding column . . . . . . . . 12
  13 Add lines 11 and 12 . . . . . . . . . . . . . . . . . . . . . . . . . . 13
  14 Add amounts on lines 16 and 17 of the preceding column . . . . . . . . 14                                  624        1,248          1,872
  15 Subtract line 14 from line 13. If zero or less, enter -0- . . . . . . . . . . 15              0              0               0             0
  16 If the amount on line 15 is zero, subtract line 13 from line 14.
      Otherwise, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . 16                               624        1,248
  17 Underpayment. If line 15 is less than or equal to line 10, subtract line
      15 from line 10. Then go to line 12 of the next column. Otherwise, go
      to line 18 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17               624             624             624           623
  18 Overpayment. If line 10 is less than line 15, subtract line 10 from line
      15. Then go to line 12 of the next column . . . . . . . . . . . . . . . . 18
Go to Part IV on page 2 to figure the penalty. Do not go to Part IV if there are no entries on line 17 - no penalty is owed.
For Paperwork Reduction Act Notice, see separate instructions.                                                                     Form 2220 (2023)
EEA
                           Case 25-10018-CTG                   Doc 1      Filed 01/09/25          Page 26 of 48

Form 2220 (2023)       GROOMORE INC                                                                             XX-XXXXXXX                  Page 2
Part IV     Figuring the Penalty
                                                                                          (a)             (b)             (c)         (d)
 19 Enter the date of payment or the 15th day of the 4th month after the
    close of the tax year, whichever is earlier. (C corporations with tax
    years ending June 30 and S corporations: Use 3rd month instead of
    4th month. Form 990-PF and Form 990-T filers: Use 5th month
    instead of 4th month.) See instructions . . . . . . . . . . . . . . .      19 04-18-2023 06-15-2023 09-15-2023 12-15-2023
 20 Number of days from due date of installment on line 9 to the date
    shown on line 19 . . . . . . . . . . . . . . . . . . . . . . . . . .       20 SEE      WK_2220 FOR CALCULATION
 21 Number of days on line 20 after 4/15/2023 and before 7/1/2023              21

                                  Number of days on line 21
 22 Underpayment on line 17 x               365
                                                            x 7% (0.07)        22   $               $               $           $


 23 Number of days on line 20 after 6/30/2023 and before 10/1/2023             23




                                                                                              y
                                  Number of days on line 23
 24 Underpayment on line 17 x               365
                                                            x 7% (0.07)        24   $               $               $           $




                                                                                           po
 25 Number of days on line 20 after 9/30/2023 and before 1/1/2024              25

                                  Number of days on line 25
 26 Underpayment on line 17 x               365
                                                            x 8% (0.08)        26   $               $               $           $


 27 Number of days on line 20 after 12/31/2023 and before 4/1/2024             27




                                                                      C
                                  Number of days on line 27
 28 Underpayment on line 17 x               366
                                                            x *%               28   $               $               $           $




                                                                   tn
 29 Number of days on line 20 after 3/31/2024 and before 7/1/2024              29

                                  Number of days on line 29
 30 Underpayment on line 17 x               366
                                                            x *%               30   $               $               $           $


 31 Number of days on line 20 after 6/30/2024 and before 10/1/2024             31




                                          e
                                  Number of days on line 31




                                     lC i
 32 Underpayment on line 17 x               366
                                                            x *%               32   $               $               $           $


 33 Number of days on line 20 after 9/30/2024 and before 1/1/2025              33

                                  Number of days on line 33
 34 Underpayment on line 17 x               366
                                                            x *%               34   $               $               $           $


 35 Number of days on line 20 after 12/31/2024 and before 3/16/2025            35

                                  Number of days on line 35
 36 Underpayment on line 17 x               365
                                                            x *%               36   $               $               $           $


 37 Add lines 22, 24, 26, 28, 30, 32, 34, and 36   .............               37   $               $               $           $


 38 Penalty. Add columns (a) through (d) of line 37. Enter the total here and on Form 1120, line 34; or the comparable line
    for other income tax returns . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                       38 $          132
*Use the penalty interest rate for each calendar quarter, which the IRS will determine during the first month in the preceding quarter.
These rates are published quarterly in an IRS News Release and in a revenue ruling in the Internal Revenue Bulletin. To obtain this
information on the Internet, access the IRS website at www.irs.gov. You can also call 1-800-829-4933 to get interest rate information.
EEA                                                                                                                             Form 2220 (2023)
                             Case 25-10018-CTG Doc 1 Filed 01/09/25 Page 27 of 48
                                  Worksheet for the Underpayment of Estimated
                                             Tax by Corporations
                                                (Keep for your records)                        2023
Name(s) as shown on return                                                                     Tax ID Number

GROOMORE INC                                                                                  XX-XXXXXXX

                      DATES                 UNDERPAID             PEN. RATE       DAYS/YEAR        PENALTY

  04-18-2023 to 06-15-2023:                    624                        x .07    x 58/365 =         7
  06-15-2023 to 06-30-2023:                    1248                       x .07    x 15/365 =         4
  06-30-2023 to 09-15-2023:                    1248                       x .07    x 77/365 =        18
  09-15-2023 to 09-30-2023:                    1872                       x .07    x 15/365 =         5
  09-30-2023 to 12-15-2023:                    1872                       x .08    x 76/365 =        31
  12-15-2023 to 12-31-2023:                    2495                       x .08    x 16/365 =         9
  12-31-2023 to 03-31-2024:                    2495                       x .08    x 91/366 =        50
  03-31-2024 to 04-15-2024:                    2495                       x .08    x 15/366 =         8
                                                                                         ______________




                                                                                y
    TOTAL PENALTY                                                                        ______________
                                                                                                    132
                                                                                         ______________




                                                    C                        po
                                       e         tn
                                  lC i
WK_2220.LD
                           Case 25-10018-CTG               Doc 1         Filed 01/09/25               Page 28 of 48
    Form PMT                                               ACH Payment                                                           2023
                                  (This information is e-filed with the return. Do not include it if paper-filing)


Name(s) shown on return                                                                                              Taxpayer's SSN
GROOMORE INC                                                                                                         XX-XXXXXXX
                                                                                                                     Spouse's SSN


Routing Transit Number
084106768
Bank Account Number
            1837
Type of Account:
CHECKING
Amount of Tax Payment
                2,627
Requested Payment Date
09-04-2024




                                                                                                y
Taxpayer's Daytime Phone Number
(267)206-0152




                                                                                             po
Type of Form being filed
Form 1120




                                                                C
Taxpayer's Signature                                                                                                 Date




                                                             tn
Spouse's Signature                                                                                                   Date




                                  lC i e
                                                                                                                             Form PMT (2023)
                                     Case 25-10018-CTG                         Doc 1           Filed 01/09/25                Page 29 of 48
                                    Application for Automatic Extension of Time To File Certain
Form   7004
(Rev. December 2018)
                                      Business Income Tax, Information, and Other Returns                                                                       OMB No. 1545-0233

Department of the Treasury                                     File a separate application for each return.
Internal Revenue Service                           Go to www.irs.gov/Form7004 for instructions and the latest information.
                   Name                                                                                                                       Identifying number
                             GROOMORE INC
Print                                                                                               STE 668                                    XX-XXXXXXX
or                 Number, street, and room or suite no. (If P.O. box, see instructions.)
Type                         1445 WOODMONT LN NW
                   City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)
                             ATLANTA                                                        GA        30318
Note: File request for extension by the due date of the return. See instructions before completing this form.
Part I       Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
  1 Enter the form code for the return listed below that this application is for . . . . . . . . . . . . . . . . . . . . . . . . 1 2
Application                                                                  Form             Application                                                                  Form
Is For:                                                                      Code             Is For:                                                                      Code
Form 706-GS(D)                                                                01              Form 1120-ND (section 4951 taxes)                                             20




                                                                                                                       y
Form 706-GS(T)                                                                02              Form 1120-PC                                                                  21
Form 1041 (bankruptcy estate only)                                            03              Form 1120-POL                                                                 22




                                                                                                                    po
Form 1041 (estate other than a bankruptcy estate)                             04              Form 1120-REIT                                                                23
Form 1041 (trust)                                                             05              Form 1120-RIC                                                                 24
Form 1041-N                                                                   06              Form 1120S                                                                    25
Form 1041-QFT                                                                 07              Form 1120-SF                                                                  26
Form 1042                                                                     08              Form 3520-A                                                                   27
Form 1065                                                                     09              Form 8612                                                                     28




                                                                                    C
Form 1066                                                                     11              Form 8613                                                                     29
Form 1120                                                                     12              Form 8725                                                                     30




                                                                                 tn
Form 1120-C                                                                   34              Form 8804                                                                     31
Form 1120-F                                                                   15              Form 8831                                                                     32
Form 1120-FSC                                                                 16              Form 8876                                                                     33
Form 1120-H                                                                   17              Form 8924                                                                     35
Form 1120-L                                                                   18              Form 8928                                                                     36




                                                      e
Form 1120-ND                                                                  19
                 All Filers Must Complete This Part




                                                 lC i
 Part II
   2  If the organization is a foreign corporation that does not have an office or place of business in the United States,
      check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   3 If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
      check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
      covered by this application.
   4 If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here . .
   5a The application is for calendar year 20 23 , or tax year beginning                       , 20      , and ending                                                      , 20      .
    b Short tax year. If this tax year is less than 12 months, check the reason:           Initial return        Final return
               Change in accounting period                      Consolidated return to be filed                       Other (See instructions-attach explanation.)

   6      Tentative total tax . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 6                             2,495

   7      Total payments and credits. See instructions                      ...........................                                             7                                    0

   8      Balance due. Subtract line 7 from line 6. See instructions                         ....................                                   8                             2,495
For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                                Form 7004 (Rev. 12-2018)
EEA
                              Case 25-10018-CTG                       Doc 1   Filed 01/09/25         Page 30 of 48
                                              E-file Authorization for Corporations
Form   8879-CORP             For calendar year 2023, or tax year beginning          , 2023, ending               , 20
(December 2022)
                                                  Use for efile authorizations for Form 1120, 1120-F or 1120S.                         OMB No. 1545-0123

Department of the Treasury                              Do not send to the IRS. Keep for your records.
Internal Revenue Service                          Go to www.irs.gov/Form8879CORP for the latest information.
Name of corporation                                                                                      Employer identification number

GROOMORE INC                                                                                            XX-XXXXXXX
 Part I         Information (Whole dollars only)

   1       Total income (Form 1120, line 11). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              1          94,360

   2       Total income (Form 1120-F, Section II, line 11) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               2

   3       Total income (loss) (Form 1120-S, line 6) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               3
 Part II          Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation's return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's
electronic income tax return and accompanying schedules and statements, and to the best of my knowledge and belief, they are
true, correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation's




                                                                                                  y
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation's return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize




                                                                                               po
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation's federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation's electronic
income tax return and, if applicable, the corporation's consent to electronic funds withdrawal.




                                                                           C
Officer's PIN: check one box only




                                                                        tn
       X      I authorize Andreea Wildner CPA                                             to enter my PIN 81990                        as my signature
                                                      ERO firm name                                           do not enter all zeros
              on the corporation's electronically filed income tax return.




                                               e
               As an officer of the corporation, I will enter my PIN as my signature on the corporation's electronically filed income tax




                                          lC i
               return.
Officer's signature                                                          Date                        Title   PRESIDENT

 Part III         Certification and Authentication

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                  XXXXXX            54587
                                                                                                                         do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the electronically filed income tax return for the corporation
indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application
and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.



ERO's signature     ANDREEA WILDNER                                                                    Date




                                           ERO Must Retain This Form - See Instructions
                                   Do Not Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                                                                      Form 8879-CORP (12-2022)
EEA
                                 Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 31 of 48


                                            Federal Supporting Statements               2023           PG01
    Name(s) as shown on return                                                         Tax ID Number

    GROOMORE INC                                                                                 XX-XXXXXXX

                                       FORM 1120 - LINE 26 - OTHER DEDUCTIONS                    Statement #5

    DESCRIPTION                                                                                  AMOUNT
    BANK CHARGES                                                                                   435
    LEGAL AND PROFESSIONAL                                                                      54,854
    CORPORATE OVERHEAD                                                                           6,594
    SOFTWARE MAINTENANCE                                                                ______________
                                                                                                19,887

    TOTAL                                                                               ______________
                                                                                               81,770
                                                                                        ______________




    DESCRIPTION
    RECEIVABLE STRIPE
                                         SCHEDULE L - LINE 6




                                                                        po y  BEG OF YEAR
                                                                              ___________
                                                                                    9,572
                                                                                                       PG01
                                                                                              Statement #8



                                                                                                   END OF YEAR
                                                                                                   ___________




                                                        C
    TOTAL                                                                     ___________
                                                                                    9,572
                                                                              ___________          ___________
                                                                                                   ___________




                                           e         tn
                                      lC i
                                                                                                 PG01
                                         Schedule M-1 Line 5C                                 Statement #16
                                     Expenses recorded on Books
    DESCRIPTION                                                                                 AMOUNT
    2022 INCOME TAX                                                                     ______________
                                                                                                 3,133

    TOTAL                                                                               ______________
                                                                                                 3,133
                                                                                        ______________




                                                                                                       PG01
                                       FORM 1125A - LINE 5 - OTHER COST                       Statement #7



    DESCRIPTION                                                                                 AMOUNT
    MERCHANT AND RETURN COSTS                                                           ______________
                                                                                                17,708

    TOTAL                                                                               ______________
                                                                                                17,708
                                                                                        ______________



STATMENT.LD
                               Case 25-10018-CTG                     Doc 1         Filed 01/09/25              Page 32 of 48

                                     Estimated Tax Worksheet for Corporations
                           For calendar year 2024, or tax year beginning                  , 2024, and ending            , 20
                                                                                                                                          2024
                                             (This page is not filed with the return. It is for your records only)
     Estimated Tax Computation                      GROOMORE INC                                                                      XX-XXXXXXX

 1   Taxable income expected for the tax year     ....................                              1                11,881

 2   Multiply line 1 by the applicable percentage    ..................................                                         2                2,495

 3   Tax credits. See instructions   .........................................                                                  3


 4   Subtract line 3 from line 2     ..........................................                                                 4                2,495

 5   Other taxes. See instructions   .........................................                                                  5


 6   Total tax. Add lines 4 and 5    .........................................                                                  6                2,495




                                                                                                           y
 7  Credit for federal tax paid on fuels and other refundable credits. See instructions . . . . . . . . . . . . . . . .         7




                                                                                                        po
 8  Subtract line 7 from line 6. Note: If the result is less than $500, the corporation is not required to
    make estimated tax payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8                2,495
 9a Enter the tax shown on the corporation's 2023 tax return. See instructions. Caution: If the tax is zero or
    the tax year was for less than 12 months, skip this line and enter the amount from line 8 on line 9b . . . . . . . .        9a               2,495
  b Enter the smaller of line 8 or line 9a. If the corporation is required to skip line 9a, enter the
    amount from line 8      .............................................                                                       9b               2,495




                                                                         C
                                                                     (a)                       (b)                  (c)                    (d)
10 Installment due dates. See 1120




                                                                      tn
    instructions . . . . . . . . . . . . .             10     04-15-2024               06-17-2024          09-16-2024                12-16-2024




11   Required installments. Enter
     25% of line 9b in columns (a)
     through (d).    .............




                                         lC i e        11                      624                      624                    624                 624
                                 Case 25-10018-CTG     Doc 1        Filed 01/09/25   Page 33 of 48




                                              Summary of Estimates                          2024
    Name(s) as shown on return                                                              Tax ID Number

    GROOMORE INC                                                                                XX-XXXXXXX
    Federal
    Form: 1120
                                                 Payment Schedule
    Due Date                     04-15-2024     06-17-2024          09-16-2024       12-16-2024             Total
    Total Installment Amount           624            624                 624              624              2,496
    Overpayment Applied
    Net Installment Due                624              624                 624             624             2,496
                                                 Taxpayer Records
    Amount Actually Paid
    Date Paid
    Check #/Confirmation




                                                                               po y
                                                        tn C
                                      lC i e
ES_SUM1.LD
                         Case 25-10018-CTG                  Doc 1         Filed 01/09/25            Page 34 of 48

                                                     Taxes and Licenses Attachment
                                    Note: This information does not transmit to the IRS with e-filed returns.                 2023
                                                  Including with a paper filed return is optional.
CORPORATION NAME                                                                                                     EIN

 GROOMORE INC                                                                                                        XX-XXXXXXX
                                                                                                                     Form 1120, line 17
Taxes and Licenses                                                                                                   Form 1120-C, line 15
                                                                                                                     Form 1120-H, line 12


  1   State income taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       1
  2   State franchise taxes    ........................................                                          2
  3   City income taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      3
  4   City franchise taxes     ........................................                                          4
  5   Real estate taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      5
  6   Local property taxes     ........................................                                          6
  7   Intangible property taxes  ......................................                                          7
  8   Payroll taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      8




                                                                                               y
  9   Less: credit from Form 8846 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      9
 10   Foreign taxes paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    10




                                                                                            po
 11   Occupancy taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       11
 12   Other miscellaneous taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     12                          709
 13   Licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      13


 14 Total to Form 1120, Page 1, Line 17   .................................                                     14                          709




                                                              tn C
                                  lC i e
ATT_CTL.LD
                             Case 25-10018-CTG                    Doc 1         Filed 01/09/25              Page 35 of 48
                                                Carryover/Carryforward Worksheet
Form 1120                                  (This page is not filed with the return. It is for your records only.)           2023
Name(s) as shown on return                                                                                                  Tax ID Number

GROOMORE INC                                                                                                                XX-XXXXXXX
                                                                                                                                  To Next Year
  Form 1120
         Contributions carryover . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         Net Operating Loss Carryover . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


  Schedule D (Form 1120)
        Unused capital loss carryover . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Carryover expiring this year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Capital loss carryover to next year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


  Form 2220
         Tax       .....................................................                                                                    2,495




                                                                                                       y
  Form 3800




                                                                                                    po
         General business credit carryforward      ....................................

  Form 4562
         Section 179 Carryover . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


  Form 4797




                                                                      C
         Nonrecaptured net section 1231 losses from WK_1231C . . . . . . . . . . . . . . . . . . . . . . . . . . .
         Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




                                                                   tn
  Reserved
         Reserved for future use   ...........................................

  Form 8827




                                         e
         Minimum tax credit carryforward    .......................................




                                    lC i
WK_CO.LD
                        Case 25-10018-CTG                    Doc 1         Filed 01/09/25              Page 36 of 48

                                                1120 TAX RETURN COMPARISON
                                                      2021 / 2022 / 2023
                                                                                                                                       2023
                                      (This page is not filed with the return. It is for your records only.)
Name(s) as shown on return                                                                                                   Identifying number
GROOMORE INC                                                                                                                 XX-XXXXXXX

                                                  2021                        2022                       2023                     DIFFERENCE
                                                FEDERAL                     FEDERAL                    FEDERAL                 BETWEEN 2022 & 2023
Net receipts     .............                                                    102,830                       335,107                     232,277
Cost of goods sold . . . . . . . . . . .                                           17,403                       240,747                     223,344
Gross profit . . . . . . . . . . . . . .                                           85,427                        94,360                       8,933
Dividends . . . . . . . . . . . . . . .
Interest . . . . . . . . . . . . . . . . .
Gross rents . . . . . . . . . . . . . .
Gross royalties . . . . . . . . . . . . .
Capital gain net income . . . . . . . . .
Net gain/loss from 4797 . . . . . . . . .




                                                                                                  y
Other income . . . . . . . . . . . . . .
Total income . . . . . . . . . . . . .                                                85,427                        94,360                        8,933




                                                                                               po
Compensation of officers . . . . . . . .
Salaries and wages . . . . . . . . . . .
Repairs and maintenance . . . . . . .
Bad debts . . . . . . . . . . . . . . .
Rents . . . . . . . . . . . . . . . . .




                                                                 C
Taxes and licenses . . . . . . . . . . .                                                  722                          709                          (13)
Interest . . . . . . . . . . . . . . . .




                                                              tn
Charitable contributions . . . . . . . .
Depreciation . . . . . . . . . . . . . .
Depletion . . . . . . . . . . . . . . . .
Advertising . . . . . . . . . . . . . .                                                5,389                                                  (5,389)
Pension, profit-sharing . . . . . . . . .




                                      e
Employee benefits . . . . . . . . . . .




                                 lC i
Domestic production activities ded . . .
Other deductions . . . . . . . . . . .                                                63,805                        81,770                    17,965
Total deductions . . . . . . . . . . .                                                69,916                        82,479                    12,563
NOL deduction . . . . . . . . . . . . .                                                  593                                                    (593)
Special deductions . . . . . . . . . . .


Taxable income . . . . . . . . . . . .                                                14,918                        11,881                    (3,037)
Total tax . . . . . . . . . . . . . . . .                                              3,133                         2,495                      (638)

Estimated taxes paid . . . . . . . . . .
Total payments line 33 . . . . . . . . .


Amount owed . . . . . . . . . . . . .                                                  3,133                         2,627                         (506)
Overpayment . . . . . . . . . . . . .
Applied to estimate . . . . . . . . . . .
Refund . . . . . . . . . . . . . . . .


RESIDENT STATE. . . . . . . . . . . .                                            GA                            GA
Taxable . . . . . . . . . . . . . . . .                                                2,119                           364                    (1,755)
Tax. . . . . . . . . . . . . . . . . . .                                                 122                            21                      (101)
Overpayment . . . . . . . . . . . . . .
Balance Due . . . . . . . . . . . . . .                                                   122                           21                         (101)
                                                    2021                        2022                       2023                   DIFFERENCE




COMPARE.LD
                                 Case 25-10018-CTG                Doc 1        Filed 01/09/25            Page 37 of 48


                                                Account Transaction Summary                                                       2023
    Name(s) as shown on return                                                                                    Tax ID Number

      GROOMORE INC                                                                                                 XX-XXXXXXX

    Account #1
    Financial Institution                                    EVOLVE BANK
    Routing Transit Number                                   084106768
    Account Number                                                 1837
    Account Type                                             checking

        Federal Main Form
        Federal Debit                                          (2,627)                       Date of Debit           09-04-2024

        State Main Form(s)
        GA Debit                                               (21)                          Date of Debit           09-04-2024
                                                         __________




                                                                                                    y
        Net Debit                                           (2,648)




                                                                       C                         po
                                            e                       tn
      PLEASE VERIFY BANK INFORMATION
      1. Bank Name
      2. Bank Routing Transit Number
      3. Bank Account Number
      4. Bank Account Type
                                       lC i
      This information is used to deposit your refund or to pay any amount due. If you have provided incorrect information,
      or you have closed the account, you are responsible.


      I have reviewed the above information and certify that this information is correct and authorize    Andreea Wildner CPA
      to use this account.




      Signature                                              Date


DD_PMT.LD
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 38 of 48
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 39 of 48
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 40 of 48
Case 25-10018-CTG   Doc 1   Filed 01/09/25   Page 41 of 48
                            Case 25-10018-CTG                          Doc 1    Filed 01/09/25              Page 42 of 48
                                ERO MUST RETAIN THIS FORM.
                                DO NOT SUBMIT THIS FORM TO
                                GEORGIA DEPARTMENT OF REVENUE
                                UNLESS REQUESTED TO DO SO.
IRS DCN OR SUBMISSION ID
0 0 5 9 5 8 5 4 0 0 0 0 0 4                              GA-8453C
                                                             2023
GEORGIA CORPORATE INCOME TAX DECLARATION FOR ELECTRONIC FILING
SUMMARY OF AGREEMENT BETWEEN TAXPAYER AND ERO OR PAID PREPARER
                                                                                           Cease Filing                                                  Final Return
                                                                                           Consolidated                     Amended Return               Amended Due to
                                                                                           GA Consolidated Subsidiary       Address Change               IRS Audit
                                                                                           Consolidated Parent FEIN         Name Change
 2023 Income Tax Return                       2024 Net Worth Return
                                                                                                                            IT-552 Attached              PL 86-272
     Beginning    01-01-2023                     Beginning     01-01-2024                  Consolidated GA Parent           Initial Net Worth            UET Annualization




                                                                                                       y
     Ending       12-31-2023                     Ending        12-31-2024                                                                                Exception
                                                                                     X Original Return                  X Extension
 Federal Employer ID Number                   Name (Corporate title)                                                    Date admitted into GA




                                                                                                    po
 XX-XXXXXXX                                      GROOMORE INC                                                            01-01-2021
 Location of Records (City & State)           Business Address                                                          Incorporated under laws of
                                                                                                                        what state
 ATLANTA                               GA        1445 WOODMONT LN NW STE 668                                             DE
 Corporation's Telephone Number               City or Town                            State          Zip Code           NAICS Code

 267-206-0152                                    ATLANTA                               GA 30318                          541511
     PART I                                                                                       TAX RETURN INFORMATION




                                                                          C
1.   Federal taxable income (Form 600, Sch 1, Line 1)  . . . . . . . . . . . . . . . . . . . . . . . . . 1.     11881
2.   Georgia taxable income (Form 600, Sch 1, Line 7) . . . . . . . . . . . . . . . . . . . . . . . . . 2.        364
                                                                                                                24259




                                                                       tn
3.   Net Worth (Form 600, Sch 2, Line 4) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.
4.   Net Worth Taxable by Georgia (Form 600, Sch 2, Line 6) . . . . . . . . . . . . . . . . . . . . . . 4.          0
5.   Tax Amounts (Form 600, Sch 3, Line 1) . . . . . . Income                      21        Net Worth              0
6.   Amount due with return (Form 600, Sch 3, Line 11)   . . . . . . . . . . . . . . . . . . . . . . . . 6.        21
7.   Refund (Form 600, Sch 3, Line 12) . . . Credited to 2024                                Refund




                                                e
     PART II                                                                                  DECLARATION OF CORPORATE OFFICER




                                           lC i
Under penalties of perjury, I declare that the information I have provided to the corporation’s Electronic Return Originator (ERO) and/or Online
Service Provider and/or Transmitter and the amounts shown in Part I agree with the amounts shown on the corresponding lines of the electronic
portion of the corporation’s 2023 Georgia Corporate Income Tax Return. I declare that I have examined the corporation’s tax return, including
accompanying schedules and statements, and to the best of my knowledge and belief, the corporation’s return is true, correct and complete.
I consent that the electronic portion of the corporation’s return may be sent by my ERO/Online Service Provider/Transmitter.

SIGN                                                                                                                PRESIDENT
HERE         SIGNATURE OF OFFICER                                                   DATE                            TITLE

             CHUNLIANG LIN
             PRINT NAME                                                             EMAIL

     PART III         DECLARATION OF ELECTRONIC RETURNS ORIGINATOR AND PAID PREPARER
I DECLARE THAT I HAVE REVIEWED THE ABOVE CORPORATION'S RETURN AND THAT THE ENTRIES ON THE GA-8453C
ARE COMPLETE AND CORRECT TO THE BEST OF MY KNOWLEDGE.
                  ERO's Signature                                                                                                 Date
     ERO's
      Use         Firm's Name      ANDREEA WILDNER CPA                                                                            Check also if paid preparer   X
     Only         Address          2060 GOLF VIEW DR
                  City, State & Zip Code DUNEDIN                               FL 34698
IF PREPARED BY A PERSON OTHER THAN THE TAXPAYER, THIS DECLARATION IS BASED ON ALL THE INFORMATION
OF WHICH THE PREPARER HAS ANY KNOWLEDGE.
                  Paid Preparer's Signature                                                                                       Date
   Paid
                  Firm's Name                                                                                                     FEIN/PTIN
 Preparer's
                  Address                                                                                                         SSN/TIN
 Use Only
                  City, State & Zip Code



GA-8453C (REV. 09/25/23)                                KEEP A COPY WITH YOUR RECORDS

       DRAKE SOFTWARE                                                          01                 026
      Case 25-10018-CTG                 Doc 1        Filed 01/09/25   Page 43 of 48

                         GA DIRECT DEBIT
                                (FOR E-FILED RETURNS ONLY)

Name of Financial Institution EVOLVE BANK
Name on Account               GROOMORE INC
RTN                           084106768
Account Number                           1837
Checking     X              Savings
Amount                          21
Date of Debit                 09-04-2024
Account Type
Business Account -1           Personal Account - 2     1




                                                                   y
                         GA DIRECT DEPOSIT
     RTN




                                                                po
     Account Number
     Checking                 Savings
     Amount




                                        tn C
               lC i e
                                              Case 25-10018-CTG         Doc 1     Filed 01/09/25      Page 44 of 48

                                                                       (KEEP FOR YOUR RECORDS)
  GA_PDF~                                                                                                                        2023




                                                                               y
                                                                       State EF Attachments
 Names as shown on return                                                                                                   FEIN/SSN




                                                                            po
  GROOMORE INC                                                                                                              XX-XXXXXXX
  Reference                           Description                                 Filename:
GA303                               GA EXTENSION                                 GA303.PDF




                                                      tn C
                                 lC i e
GA_PDF~~.LD      *** Before selecting this return for EF, ensure all PDFs are current, based on the last calculation. ***
                  Case 25-10018-CTG              Doc 1      Filed 01/09/25         Page 45 of 48




                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                       Chapter 11

    GrooMore, Inc.                                              Case No. 25-_____ (__)

                             Debtor. 1                          (Subchapter V)


                               VERIFICATION OF CREDITOR MATRIX

            I, the Founder and CEO of the corporation named as the debtor in this case, hereby verify

that the attached list of creditors is true and correct to the best of my knowledge.

Date: January 9, 2025                                                    /s/ ChunLiang Lin
                                                                         ChunLiang Lin
                                                                         Title: Founder and CEO




1
      The last four digits of the Debtor’s federal tax identification number are 1990. The Debtor’s mailing address is
      1445 Woodmont Ln NW, Suite 668, Atlanta, GA 30318.
            Case 25-10018-CTG      Doc 1   Filed 01/09/25   Page 46 of 48




Amazon Web Services
410 Terry Avenue North,
Seattle, Washington, 98109

ChunLiang Lin
Building 2, D403,
Nan Guo Li Cheng, Nan Shan District,
Shenzhen, Guangdong,
China

Evolve Bank & Trust
6000 Poplar Avenue, Suite 300
Memphis, TN 38119


Google
1600 Amphitheatre Parkway
Mountain View, CA 94043

Intercom
55 2nd Street, 4th fl,
San Fracisco, CA 94105

J.S. Held LLC – US
50 Jericho Quadrangle
Ste 117
Jericho, NY 11753

Jiang Xue
Building A, Unit 227,
Phase 1, Deyi Mingju,
Shenzhen, Guangdong Province,
China

Jie Zhang
Room 605a, 6th Floor,
Zhongdian Lighting Building,
Nanshan District, Shenzhen, Guangdong
Province, P.R.
China
Jingfang Cai
2117 Fanshawe St
Philadelphia, PA 19149

Lesowitz Gebelin
8383 Wilshire Blvd.,
             Case 25-10018-CTG        Doc 1   Filed 01/09/25   Page 47 of 48




Suite 800
Beverly Hills, CA 90211

Moement, Inc.
22110 Artesia Blvd., Ste. 177,
Redondo Beach, CA 90278


Norton Roate Fulbright US LLP
555 South Flower Street
Forty-First Floor
Los Angeles, CA 90071
Attn: Christopher Pelhman
      Alex Scandroli


Paula Sitek
308 Everdale Rd
Peachtree City, GA 30269

Songyun Liu
c/o Cohen Law Group
1901 Avenue of the Stars, Suite 200
Los Angeles, CA 90067
Attn: Joyce H. Ma

Stripe
199 Water St,
New York, NY 10038

Structure Law
1754 Technology Drive,
Suite 135 San Jose, CA 95110

Telnyx
311 W Superior St, Ste 504,
Chicago, IL 60654

Twilio
101 Spear Street, Fifth Floor,
San Francisco, CA 94105

Yi Liu
132 Holly Ter
Sunnyvale, CA 94086
            Case 25-10018-CTG       Doc 1   Filed 01/09/25   Page 48 of 48




Zhao Ji Wen
Mao Hua Xi Du Hui,
No. 910, Xinyu Road,
Yuhua District, Changsha, Hunan Province,
China
